            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 1 of 48




                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

                                               )
MARIAN RYAN, in her official capacity as       )
Middlesex County District Attorney;            )
RACHAEL ROLLINS, in her official capacity      )
as Suffolk County District Attorney;           )
COMMITTEE FOR PUBLIC COUNSEL                   )
SERVICES; and the CHELSEA                      )
COLLABORATIVE, INC.,                           )
                                               )
               Plaintiffs,                     )
                                               )
       v.                                      )
                                               )
U.S. IMMIGRATION AND CUSTOMS                   )
ENFORCEMENT; MATTHEW T.                        )
                                                    Civil Action No. ________
ALBENCE, in his official capacity as Acting    )
Deputy Director of U.S. Immigration and        )
Customs Enforcement and Senior Official        )
Performing the Duties of the Director; TODD    )
M. LYONS, in his official capacity as          )
Immigration and Customs Enforcement,           )
Enforcement and Removal Operations, Acting     )
Field Office Director; U.S. DEPARTMENT         )
OF HOMELAND SECURITY; and KEVIN                )
McALEENAN, in his official capacity as         )
Acting Secretary of United States Department   )
of Homeland Security,                          )
                                               )
               Defendants.                     )




    COMPLAINT FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 2 of 48



                                        INTRODUCTION

       1.      This case presents a challenge brought by Massachusetts prosecutors, public

defenders, and civil litigants to the federal government’s appropriation of the Massachusetts state

courts to carry out federal civil immigration policy. For the last two years, officers from U.S.

Immigration and Customs Enforcement (“ICE”) have patrolled Massachusetts state

courthouses—including courtrooms, hallways, clerk’s offices, parking lots and front steps—

following, arresting, and detaining those they believe violated federal civil, not criminal, law. In

the face of widespread opposition to this practice, ICE has not only refused to stop it, but has

issued a formal Directive authorizing such civil courthouse arrests. ICE’s Directive, and its

widespread practice of conducting civil arrests in state courthouses, are unprecedented in

American history. Indeed, the U.S. Supreme Court and the Massachusetts Supreme Judicial

Court have long recognized a privilege against civil arrests for those attending court on official

business—a privilege that traces its roots back to English common law, and rests on the

common-sense principle that the judicial system cannot function if parties and witnesses fear that

their appearance in court will be used as a trap.

       2.      ICE’s decision to flout the long-standing common-law privilege against civil

courthouse arrests and to commandeer the state courts for federal civil immigration purposes has

led to effects on Plaintiffs, the Massachusetts justice system, and the public at large that are as

dramatic as they are predictable. Entire communities now view the Massachusetts courts as

places where they cannot go, for any reason, greatly impeding access to justice and undermining

the administration of justice in these communities. Criminal defendants refuse to appear,

defaulting rather than risk civil arrest, detention, and removal by ICE. Witnesses do not appear

for fear of arrest and deportation, undermining prosecutions, depriving criminal defendants of

their right to present a defense, and interfering with the operation of civil litigation. And civil

                                                    2
             Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 3 of 48



litigants seeking relief such as restraining orders against violent partners, unpaid wages from an

unscrupulous employer, or remedies from landlords providing illegal housing are forced to

tolerate domestic violence, illegal working conditions, and unsafe living conditions to avoid ICE

civil arrest.

        3.      Plaintiffs represent a range of actors in the state court system—prosecutors,

defense attorneys, and civil litigants—all of whom have directly felt the impact of ICE’s policy

of civilly arresting parties, witnesses, and others attending court on official business. Without

any ability to ensure that Massachusetts residents can appear in court without ICE interference,

Plaintiffs Marian Ryan and Rachael Rollins, the District Attorneys for Middlesex County and

Suffolk County (the “District Attorneys”), are unable to prosecute many crimes because the

victims, key witnesses, or even the defendants do not appear. Plaintiff Committee for Public

Counsel Services, which is responsible for indigent criminal defense in the Commonwealth,

cannot present meaningful defenses because its clients or defense witnesses do not appear. And

Plaintiff Chelsea Collaborative is a membership organization with noncitizen members who have

been unable to access the courts to enforce their state-law rights for fear of ICE arrest. This has

not only led to harm to Chelsea Collaborative’s members, but has forced Chelsea Collaborative

to spend significant resources assisting its members, including by instituting its own extra-

judicial mediation program in an attempt to resolve disputes between Massachusetts residents

who no longer feel safe appearing in Massachusetts state courts.

        4.      ICE’s civil-courthouse-arrest policy not only undermines the administration of

justice in Massachusetts, it is also illegal for at least three reasons.

        5.      First, Congress never authorized ICE to conduct civil courthouse arrests because

it never abrogated the longstanding and well-settled common-law privilege against such arrests.



                                                    3
            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 4 of 48



The Supreme Court has recognized that the common-law privilege against civil courthouse

arrests is “well settled.” Stewart v. Ramsay, 242 U.S. 128, 129 (1916). When Congress acts in

an area governed by “long-established and familiar” common-law principles, Congress is

presumed to retain those principles. United States v. Texas, 507 U.S. 529, 534 (1993). Here,

where Congress granted the federal government a general civil-arrest power to enforce civil

immigration laws, Congress retained traditional common-law limitations on that arrest power—

including that such arrests cannot be made against parties and witnesses attending court on

official business. Indeed, finding that Congress abrogated the common-law privilege would be

particularly inappropriate given the significant constitutional concerns relating to separation of

powers and court access raised by federal appropriation of state courts for civil arrests. Because

the INA does not grant the federal government the authority to conduct civil courthouse arrests

in violation of the common-law privilege, ICE’s Directive authorizing such arrests, and its

corresponding policy of conducting such arrests, exceed ICE’s statutory authority, and must be

set aside under the Administrative Procedure Act. See 5 U.S.C. § 706(2).

       6.      Second, even if ICE’s Directive were authorized by statute, the Directive and the

corresponding practice of civilly arresting parties, witnesses, and others attending Massachusetts

state courts on official business exceed the powers granted to the federal government, and hence

violate the Tenth Amendment of the U.S. Constitution. “[T]he Federal Government may not

compel the States to implement, by legislation or executive action, federal regulatory programs.”

Printz v. United States, 521 U.S. 898, 925 (1997). Yet that is precisely what ICE’s civil

courthouse arrest program does. ICE has coopted the state’s justice system, using it as a tool for

trapping those required to attend state court. ICE’s civil-courthouse-arrest policy triggers all of

the concerns that the Supreme Court recently identified as signaling a Tenth Amendment



                                                 4
               Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 5 of 48



violation, including the shifting the political responsibility for and costs of immigration

enforcement to the states. See Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. 1461, 1477

(2018).

          7.      Third, ICE’s policy violates the Constitutional right of access to the courts, which

prohibits “systemic official action [that] frustrates a plaintiff or plaintiff class in preparing and

filing suits.” Christopher v. Harbury, 536 U.S. 403, 413, 415 & n.12 (2002). Conditioning

litigants’ ability to access the courts on making themselves available for civil arrest creates

precisely such impermissible frustration. Indeed, common-law courts created the privilege

against civil courthouse arrest in recognition of the intolerable chilling effect of such arrests,

explaining that the fear of arrest would “prevent [parties and witnesses’] approach,” obstructing

“the administration of justice.” Halsey v. Stewart, 4 N.J.L. 366, 368 (N.J. 1817). Because of

ICE’s policy, Chelsea Collaborative’s members have been unable to use the courts to obtain

relief from domestic violence or other civil wrongs like illegal living and working conditions. In

response, Chelsea Collaborative has been forced to establish its own extra-judicial mediation

program—which handles three or four mediations per week—to attempt to resolve disputes

between Massachusetts residents who are no longer willing to appear in Massachusetts court for

fear of civil ICE arrest.

          8.      For these reasons, and as set forth below, Plaintiffs ask this Court to declare that

ICE’s Directive authorizing the civil arrest of parties, victims, witnesses, and others attending

court on official business, and ICE’s policy of conducting such arrests, are unlawful, and to

enjoin ICE from such activity.




                                                    5
             Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 6 of 48



                                 JURISDICTION AND VENUE

       9.       The Court has jurisdiction under 28 U.S.C. §§ 1331 and 1346. This Court has

further remedial authority under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 et

seq. The United States has waived its sovereign immunity pursuant to 5 U.S.C. § 702.

       10.      Venue properly lies within the District of Massachusetts because this is an action

against an officer, employee, and/or agency of the United States, all Plaintiffs reside in this

judicial district, and a substantial part of the events or omissions giving rise to this action have

occurred in this judicial district. See 28 U.S.C. § 1391(e)(1).


                                             PARTIES

       11.      Plaintiff Marian Ryan is the Middlesex County District Attorney, and brings this

suit in her official capacity. The Middlesex County District Attorney’s office is headquartered at

15 Commonwealth Avenue, Woburn, MA 01801. The Middlesex County District Attorney’s

Office serves 54 cities and towns in and around the Boston area, and handles criminal

prosecutions and investigations in district and municipal courts. Middlesex County is the largest

county in the Commonwealth in terms of population and number of communities served.

Middlesex County has a larger population than eleven states.

       12.      Plaintiff Rachael Rollins is the Suffolk County District Attorney, and brings this

suit in her official capacity. The Suffolk County District Attorney’s office is headquartered at

One Bulfinch Place, Boston, MA 02114. The Suffolk County District Attorney’s Office serves

the cities and towns of Boston, Chelsea, Revere, and Winthrop, Massachusetts, and handles

criminal prosecutions and investigations in district and municipal courts.

       13.      The combined population of Suffolk and Middlesex Counties is nearly 2.5 million

people—approximately one-third of the Commonwealth’s population.


                                                   6
             Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 7 of 48



       14.      Plaintiff Committee for Public Counsel Services (“CPCS”) is the public defender

agency for the Commonwealth of Massachusetts. CPCS is headquartered at 44 Bromfield Street,

Boston, Massachusetts, 02108, and is overseen by a fifteen-member body appointed by the heads

of the executive, legislative, and judicial branches of Massachusetts. CPCS is responsible for the

provision of legal representation, by both staff attorneys and court-appointed private attorneys, of

all indigent persons in civil, criminal, and administrative cases in Massachusetts in which there is

a right to appointed counsel.

       15.      As the key players on the prosecution and defense sides of the criminal justice

system, the District Attorneys and CPCS have joined together to challenge what they collectively

agree to be a profound threat to the Massachusetts criminal justice system. Both prosecutors and

defense attorneys depend on witnesses to carry out investigations, prosecutions, and criminal

defense. ICE’s civil-courthouse-arrest policy is undermining the work of both prosecutors and

defense attorneys by deterring many victims and witnesses from appearing in court, forcing the

District Attorneys to abandon otherwise promising prosecutions. ICE’s policy also makes it

more difficult to obtain defendants’ appearance in court—both because defendants arrested,

detained and subject to removal proceedings prior to resolution of their criminal cases may not

be able to appear in court, and because the risk of ICE arrest leads some criminal defendants to

default—which makes both prosecution and defense impossible. On information and belief, this

case represents the first time that the District Attorneys and CPCS have joined as plaintiffs to

challenge such a threat to the Massachusetts justice system.

       16.      Plaintiff Chelsea Collaborative, Inc. is a 501(c)(3) non-profit organization located

at 318 Broadway, Chelsea, Massachusetts, 02150. The Collaborative, originally founded in 1988

as the Chelsea Human Services Collaborative, is an organization dedicated to the needs of the



                                                 7
              Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 8 of 48



community of Chelsea. The mission of the Collaborative is to enhance the social,

environmental, and economic health of the community and its people. The Collaborative

provides numerous services to the immigrant community in Chelsea, including citizenship

classes, summer employment for teenagers, landlord-tenant education, voter mobilizations, and

assistance in accessing the judicial system.

        17.      Defendant U.S. Immigration and Customs Enforcement is a federal agency

charged with enforcement of federal immigration laws, including execution of ICE Directive No.

11072.1 entitled “Civil Immigration Actions Inside Courthouses” (the “Directive”), dated

January 10, 2018.

        18.      Defendant Matthew T. Albence is the Deputy Director and Senior Official

Performing the Duties of the Director of U.S. Immigration and Customs Enforcement. On

information and belief, Defendant Albence is responsible for executing the Directive. Deputy

Director Albence is sued in his official capacity.

        19.      Defendant Todd M. Lyons is the Acting Boston Field Office Director of U.S.

Immigration and Customs Enforcement, Enforcement and Removal Operations. He is charged

with ICE enforcement in the Boston area. Acting Field Office Director Lyons is sued in his

official capacity.

        20.      Defendant the Department of Homeland Security (“DHS”) is a cabinet department

of the U.S. federal government, which oversees Defendant U.S. Immigration and Customs

Enforcement.

        21.      Defendant Kevin McAleenan is the Acting Secretary of the Defendant DHS.

Acting Secretary McAleenan is responsible for executing relevant provisions of the Executive

Order 13,768, entitled “Enhancing Public Safety in the Interior of the United States” (the “EO



                                                 8
             Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 9 of 48



13,768” or “Executive Order”), issued on January 25, 2017. Acting Secretary McAleenan is

sued in his official capacity.


                                    STATEMENT OF FACTS

       22.      In January 2017, at the direction of President Trump, then-DHS Secretary John

Kelly, and then-ICE Deputy Director Thomas Homan, ICE began a nationwide campaign

specifically targeting state courthouses as sites for civil immigration enforcement. The practice

sent a shockwave of fear and anxiety through immigrant communities in Massachusetts and

across the country. This pervasive fear has paralyzed the effective administration of justice in

dramatic yet predictable ways. So predictable in fact that centuries of English and American

jurisprudence have guarded against such a chilling effect by affording individuals with a

common-law privilege precluding such civil courthouse arrests. ICE’s Directive authorizing

civil courthouse arrests, and its policy of conducting them, violate the long-standing common-

law protection against civil arrests in and around courthouses, exceed ICE’s statutory authority

under the INA, and violate the Constitution.

       There is a “well settled” common-law privilege against civil arrests of parties,
       witnesses, and others attending court on official business.

       23.      In England, and in the early years of this country, civil arrest, or civil capias, was

a common means for initiating civil proceedings. See Nathan Levy, Jr., Mesne Process in

Personal Actions at Common Law and the Power Doctrine, 78 Yale L.J. 52, 61-70 (1968). The

possibility that such civil arrests could take place in court, however, posed a significant problem

for the judicial system: If a party or witness’s appearance in one case could be used as a trap for

a civil arrest in another case, many parties and witnesses would not attend court. To avoid this

problem, courts both in England and the United States—including the U.S. Supreme Court, this

Court, and the Massachusetts Supreme Judicial Court—all recognized and strictly enforced an

                                                   9
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 10 of 48



“inflexib[le]” privilege, and an “absolute protection,” against the civil arrest of parties or

witnesses attending court. E.g., Page Co. v. MacDonald, 261 U.S. 446, 448 (1923); Larned v.

Griffin, 12 F. 590, 594 (D. Mass. 1882); Valley Bank & Trust Co. v. Marrewa, 354 Mass. 403,

406-07 (1968). As the Supreme Court explained, “the due administration of justice requires that

a court shall not permit interference with the progress of a case pending before it, by the service

of process in other suits, which would prevent, or the fear of which might tend to discourage, the

voluntary attendance of those whose presence is necessary or convenient to the judicial

administration in the pending litigation.” Lamb v. Schmitt, 285 U.S. 222, 225 (1932).

       24.     The common-law privilege against civil arrest while attending court on official

business is longstanding, tracing its origins back at least to English courts in the eighteenth

century. Blackstone’s Commentaries on the Laws of England explained the common-law rule

that “[s]uitors, witnesses, and other persons, necessarily attending any courts of record upon

business, are not to be arrested during their actual attendance, which includes their necessary

coming and returning.” 3 William Blackstone, Commentaries on the Laws of England 289

(1769); see also 6 Matthew Bacon, A New Abridgment of the Law 530 (London, A. Strahan, 7th

ed. 1832) (“[A]ll [] persons whatsoever, are freed from arrests so long as they are in view of any

of the courts at Westminster, or if near the courts, though out of view, lest any disturbance may

be occasioned to the courts or any violence used.”). This principle was repeatedly endorsed by

the English courts, which held that, “for the purpose of justice,” and “to encourage witnesses to

come forward voluntarily,” they are privileged from arrest “in coming, in staying, and in

returning” from court. The King v. Holy Trinity in Wareham, 99 Eng. Rep. 531 (1782); see also

Meekins v. Smith, 126 Eng. Rep. 363 (1791) (“[A]ll persons who had relation to a suit which

called for their attendance, whether they were compelled to attend by process or not, (in which



                                                  10
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 11 of 48



number bail were included,) were intitled to privilege from arrest eundo et redeundo [i.e., coming

and returning][.]”); Spence v. Stuart, 102 Eng. Rep. 530 (1802); Ex Parte Byne, 35 Eng. Rep.

123 (1813).

       25.     The U.S. Supreme Court has adopted this privilege and held that it bars service of

any other civil process while attending court. For instance, in Stewart v. Ramsay, 242 U.S. 128

(1916), the Court described the privilege as “well settled,” explaining that a litigant “should be

permitted to approach [the courts], not only without subjecting himself to evil, but even free

from the fear of molestation or hindrance. He should also be enabled to procure, without

difficulty, the attendance of all such persons as are necessary to manifest his rights.” Id. at 129.

The Court described it as particularly firmly established that there was an “exemption from

arrest,” or “capias,” and held that this exemption applied to any civil process to protect the

“necessities of the judicial administration, which would be often embarrassed, and sometimes

interrupted, if the suitor might be vexed with process while attending upon the court for the

protection of his rights, or the witness while attending to testify.” Id. at 130. The Court has

emphasized the “necessity of [the rule’s] inflexibility” in order to serve its purpose of protecting

litigants and witnesses in appearing in court. Page Co., 261 U.S. at 448; see also Long v. Ansell,

293 U.S. 76, 83 (1934) (Brandeis, J.) (describing “the common-law rule that witnesses, suitors,

and their attorneys, while in attendance in connection with the conduct of one suit, are immune

from service in another”); Lamb, 285 U.S. at 225.

       26.     The District of Massachusetts has also vigorously enforced this privilege. As this

Court has explained, “[i]t has long been settled that parties and witnesses attending in good faith

any legal tribunal . . . are privileged from arrest on civil process during their attendance, and for a

reasonable time in going and returning.” Larned, 12 F. at 590. This is an “absolute protection.”



                                                  11
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 12 of 48



Id. at 594. This Court therefore held that the civil arrest of the defendant while he was attending

an Illinois state court proceeding was impermissible. See id. at 590.

       27.     The privilege against civil courthouse arrests is also firmly entrenched in

Massachusetts common law. As the Supreme Judicial Court has explained, “[p]arties and

witnesses, attending in good faith any legal tribunal, whether a court of record or not, having

power to pass upon the rights of the persons attending, are privileged from arrest on civil process

during their attendance, and for a reasonable time in going and returning, whether they are

residents of this state or come from abroad, whether they attend on summons or voluntarily.”

Valley Bank, 354 Mass. at 406-07 (quoting In re Thompson, 122 Mass. 428, 429 (1877)); see

also M’Neil’s Case, 3 Mass. 288 (1807); Diamond v. Earle, 217 Mass. 499, 500 (1914). Indeed,

just this past year, Justice Cypher recognized, in a Single Justice opinion, that the “privilege

against civil arrest” in attending court is “well settled” in the Commonwealth. Matter of C. Doe,

SJ-2018-119 at *10 (Mass. Sept. 18, 2018).

       28.     The consistent theme throughout the cases discussing this common-law privilege

is that strict and absolute enforcement of the privilege is necessary to allow courts to serve their

purpose of providing a forum where parties and witnesses can freely attend to testify and assert

their rights. In a decision the Supreme Court recognized as a “leading authority” on the

privilege, Stewart, 242 U.S. at 129, the New Jersey Supreme Court explained that “[c]ourts of

justice ought, everywhere, to be open, accessible, free from interruption, and to cast a perfect

protection around every man who necessarily approaches them.” Halsey, 4 N.J.L. at 367. The

“fear that . . . a capias might be served upon [parties and witnesses]” would “prevent [their]

approach,” obstructing “this great object in the administration of justice.” Id. at 368. In sum:


               This privilege of parties and witnesses is alike the privilege of the
               court and the citizen. It protects the court from interruption and
                                                 12
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 13 of 48



                 delay. It takes away a strong inducement to disobey its process,
                 and enables the citizen to prosecute his rights without molestation,
                 and procure the attendance of such as are necessary for their
                 defence and support.

Id. at 368-69.

       29.       The same sentiment has been consistently expressed across all courts discussing

the privilege. As the Supreme Court explained in Stewart v. Ramsay, the privilege “is founded in

the necessities of the judicial administration, which would be often embarrassed, and sometimes

interrupted, if the suitor might be vexed with process while attending upon the court for the

protection of his rights, or the witness while attending to testify.” 242 U.S. at 130. This Court

and the Massachusetts Supreme Judicial Court have also recognized that the privilege is

“necessary to the due administration of justice,” Larned, 12 F. at 594, and “is a prerogative

exerted by the sovereign power through the courts for the furtherance of the ends of justice,”

Valley Bank, 354 Mass. at 405. “[T]he reason upon which [the privilege] rests is that justice

requires the attendance of witnesses cognizant of material facts, and hence that no unreasonable

obstacles ought to be thrown in the way of their freely coming into court to give oral testimony.”

Diamond v. Earle, 217 Mass. 499, 501 (1914). Thus, a litigant “in every claim of right which he

exhibits, and every defense which he is obliged to make, should be permitted to approach [the

courts], not only without subjecting himself to evil, but even free from the fear of molestation or

hindrance. He should also be enabled to procure, without difficulty, the attendance of all such

persons as are necessary to manifest his rights.” Stewart, 242 U.S. at 129 (quoting Halsey, 4

N.J.L. at 367-68).

       30.       Because of the privilege’s importance, courts have recognized numerous different

ways in which courts can enforce the privilege, including ordering the person arrested

immediately discharged and holding the arresting officers in contempt for violating the privilege.


                                                  13
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 14 of 48



See Arding v. Flower, 8 T.R. 533 (1800); Parker v. Marco, 136 N.Y. 585 (1893) (“[A wrongfully

detained individual] may move in the court whose privilege has been violated to punish the party

in that court who has been guilty of such violation, or he may move in the court out of which the

process has been improperly issued to vacate it, and the motion will be granted.”).

        31.     Similarly, courts have recognized that because the privilege inherently involves

two different proceedings, often the court that enforces the privilege is different than the court

with jurisdiction over the proceeding in which the improper arrest would or could take place.

Thus, the English courts held that a claim for discharge out of custody can be made to the court

out of which “the process was issued,” because that court has “a right to see that it is not

improperly enforced.” Selby v. Hills, 131 Eng. Rep. 364, 365 (1832). The U.S. Supreme Court

reached the same conclusion in Page Co. v. MacDonald, 261 U.S. at 447-48. In that case, a

party was served in a federal case filed in this Court while attending court for a Massachusetts

state court case. The served party asked the federal court to hold the service improper. The

plaintiff argued that a party in state court could not claim immunity from service “from the

judicial process of a different sovereignty,” but the Supreme Court disagreed. As the Court

explained, “the courts, federal and state, have equal interests in [the necessities of the judicial

administration],” and they “are both instruments of judicial administration within the same

territory, available to suitors, fully available, neither they nor their witnesses subject to be

embarrassed or vexed while attending, the one for the protection of his rights; the others while

attending to testify.” Id. at 448. The Court therefore enforced the privilege against civil arrest

and service of process on behalf of the state court.

        32.     Federal district courts, including this Court, thus routinely held that federal and

state courts should enforce the privilege on each other’s behalf. In Larned, for instance, this



                                                  14
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 15 of 48



Court upheld an assertion of the privilege against an arrest carried out in an Illinois state court

proceeding. 12 F. at 590. And in Bridges v. Sheldon, 7 F. 17, 45 (D. Vt. 1880), the court held

that it can enforce the privilege to invalidate service of state civil process on those attending

federal court because the privilege is a “protection which all courts furnish to litigants before

them, without regard to the subject of that litigation,” and violations of the privilege are “a

contempt, which the court should punish.”


       Congress grants ICE a general civil arrest power, which ICE interprets to authorize
       civil courthouse arrests.
               Congress grants ICE generic civil-arrest authority, without any suggestion
               that it intended to abrogate the common-law limits that apply to civil arrests.

       33.     The provisions authorizing civil immigration arrests originate in the Immigration

and Nationality Act of 1952, Pub. L. 82-414, 66 Stat. 163. That statute includes two provisions

authorizing civil immigration arrests. Section 242(a) of that statute states that, “[p]ending a

determination of deportability in the case of any alien as provided in subsection (b) of this

section, such alien may, upon warrant of the Attorney General, be arrested and taken into

custody.” Section 287(a)(2) of that statute authorizes an immigration officer to carry out a

warrantless civil arrest “if he has reason to believe that the alien so arrested is in the United

States in violation of any such law or regulation and is likely to escape before a warrant can be

obtained for his arrest.”

       34.     The language Congress enacted in 1952 remains largely unchanged today.

Specifically, 8 U.S.C. § 1226(a) states: “On a warrant issued by the Attorney General, an alien

may be arrested and detained pending a decision on whether the alien is to be removed from the

United States.” And 8 U.S.C. § 1357(a)(2) authorizes an immigration officer to perform a civil

immigration arrest “if he has reason to believe that the alien so arrested is in the United States in



                                                  15
            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 16 of 48



violation of any [immigration] law or regulation and is likely to escape before a warrant can be

obtained for his arrest.”

       35.     The statute thus gives the government the same type of civil-arrest authority that

had historically been used to institute civil proceedings. See INS v. Lopez-Mendoza, 468 U.S.

1032, 1038 (1984) (“A deportation proceeding is a purely civil action to determine eligibility to

remain in this country”). The statute today, as in 1952, gives no indication that the authority

Congress granted differs in any way from the civil-arrest authority that existed at common law—

including the limitation privileging those attending court on official business from civil

courthouse arrest.

               ICE unilaterally decides to exercise its civil-arrest authority in state
               courthouses.

       36.     The federal government’s exercise of its civil-arrest powers changed dramatically

after President Trump assumed office in 2017—sixty-five years after Congress first authorized

civil immigration arrests. Shortly after taking office, President Trump issued Executive Order

13,768, entitled “Enhancing Public Safety in the Interior of the United States” (“EO 13,768”). In

that Order, President Trump abandoned past deportation prioritization programs embraced by

both the Bush and Obama Administrations, calling for the deportation of anyone potentially

removable from the United States—likely more than 10 million people. As EO 13,768

recognized, administering this massive increase in immigration enforcement would require a

correspondingly massive increase in federal resources, including a near-tripling of ICE’s

capacity.

       37.     One way ICE has attempted to reduce the federal resources necessary to

implement this federal policy is to coopt the state court system by using parties’ appearances in

state courts as a trap for purposes of federal immigration enforcement. Early in the Trump


                                                16
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 17 of 48



administration, ICE officials began conducting courthouse surveillance and arrest raids at state

courthouses. Exhibit A. The practice began almost immediately after President Trump’s

inauguration and escalated quickly. Courthouse arrest and surveillance operations have

continued to expand in geographic scope and severity.

       38.     ICE officials have repeatedly acknowledged and defended the practice of civil

courthouse arrests. On March 29, 2017, then-Homeland Security Secretary John Kelly and then-

Attorney General Jefferson Sessions acknowledged the civil courthouse arrest practice and stated

adamantly that ICE would continue the practice. See Exhibit B at 2. Further, they have admitted

that using state courthouses to trap those suspected of civil immigration violations is a way of

using the state’s resources for federal benefit. Sessions and Kelly emphasized the benefit to ICE

of this forced cooperation by state officers, noting that “[b]ecause courthouse visitors are

typically screened upon entry to search for weapons and other contraband, the safety risks for the

arresting [ICE] officers and persons being arrested are substantially decreased.” Exhibit B at 2.

       39.     DHS and ICE have also made clear that anyone is subject to an ICE civil arrest

while attending court, including victims. For instance, in April 2017, a DHS spokesman stated:

               Just because they’re a victim in a certain case does not mean
               there’s not something in their background that could cause them to
               be a removable alien[.] Just because they’re a witness doesn’t
               mean they might not pose a security threat for other reasons.

Similarly, on August 30, 2017, the Boston Field Officer Director for ICE told immigration

advocates they should not assure restraining order applicants with no prior criminal record that

ICE would not arrest them if they went to the courthouse to seek protection. Indeed, ICE has

arrested at least one woman while appearing in court to obtain a protective order from an abusive

partner. In public remarks throughout 2017, DHS and other Trump Administration officials

continued to clarify their intent to arrest victims and witnesses, including an ICE spokeswoman’s


                                                 17
            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 18 of 48



statement: “If [a courthouse is] the only place we can find them, why wouldn’t we? . . . We will

continue to make those arrests.”

          40.   Consistent with these official statements and conduct, ICE has refused, as a more

formal matter, to rule out the possibility of conducting enforcement against anyone, anywhere in

court. In a “frequently asked questions” document, ICE responded to the question of whether

there is “any place in a courthouse where enforcement will not occur” by stating, in effect, “no”:

                ICE officers and agents will generally avoid enforcement actions
                in courthouses, or areas within courthouses, that are dedicated to
                non-criminal (e.g., family court, small claims court) proceedings.
                In those instances in which an enforcement action in such locations
                is operationally necessary, the approval of the respective Field
                Office Director (FOD), Special Agent in Charge (SAC), or his or
                her designee is required.

Exhibit C at 3 (emphases added). ICE provided no information concerning when it would deem

such enforcement “operationally necessary,” maintaining full discretion to civilly arrest anyone

in any courthouse.

                ICE formalizes its courthouse-arrest policy in Directive No. 11072.1.

          41.   On January 10, 2018, ICE formalized its courthouse arrest policy in Directive No.

11072.1, entitled “Civil Immigration Actions Inside Courthouses” (the “Directive”; attached as

Exhibit D). This Directive “sets forth [ICE’s] policy regarding civil immigration enforcement

inside federal, state, and local courthouses.”

          42.   While ostensibly setting some limitations to ICE enforcement at courthouses, the

Directive ultimately vests ICE with the unbridled discretion to make civil arrests in virtually any

courthouse location when ICE deems it “necessary,” providing noncitizens with no assurance

that they will be safe from arrest at any courthouse or under any specific circumstances. Exhibit

D at 2.



                                                 18
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 19 of 48



       43.        The Directive states that ICE’s courthouse arrests will “include” actions against

“specific, target aliens with criminal convictions, gang members, national security or public

safety threats, aliens who have been ordered removed from the United States but have failed to

depart, and aliens who have re-entered the country illegally after being removed.” But it

pointedly does not limit its arrests to these “target aliens.” Exhibit D at 1.

       44.        Similarly, the Directive provides that “[a]liens encountered during a civil

immigration enforcement action inside a courthouse” who are not “targeted alien[s] . . . will not

be subject to . . . enforcement action, absent special circumstances.” The Directive provides no

information concerning what ICE considers “special circumstances,” but simply states that “ICE

officers and agents will make enforcement determinations on a case-by-case basis in accordance

with federal law and consistent with U.S. Department of Homeland Security (DHS) policy.”

Exhibit D at 1.

       45.        The Directive does not state what this DHS policy is, but instead cross-references

two other internal DHS memoranda. Those two memoranda, however, say nothing about

courthouse arrests. Exhibits E and F. Indeed, one of the memoranda simply reiterates EO

13,768, stating that DHS “no longer will exempt classes or categories of removable aliens from

potential enforcement.” Exhibit F at 2. This memorandum suggests, if anything, that anyone

potentially removable would be a fair target of a courthouse arrest.

       46.        Ultimately, the Directive simply formalizes the Trump Administration’s

consistent policy that ICE has complete discretion to use federal and state courthouses as a trap

to arrest anyone suspected of a civil immigration violation—including criminal defendants,

victims, witnesses, and parties to civil proceedings.




                                                   19
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 20 of 48



        ICE officers are routinely present in Massachusetts state courthouses, making
        multiple arrests per week, causing significant disturbances, and sending a clear
        signal that appearing in Massachusetts courts entails risking civil ICE arrest.

        47.     ICE does not disclose the frequency of, or details concerning, its civil courthouse

arrests in Massachusetts. Nevertheless, Plaintiffs have attempted, through their own and others’

observations of ICE in Massachusetts courts, and through reviewing the limited data that is

available from the Massachusetts courts, to capture the extent of ICE’s presence in

Massachusetts courts. It is readily apparent that ICE officers are regularly present in

Massachusetts state courts such that appearing in a Massachusetts state court requires exposing

oneself to the possibility of civil ICE arrest.

        48.     The presence of ICE officers in Massachusetts state courts is sufficiently routine

that those regularly practicing in state courts—including Assistant District Attorneys and public

defenders—recognize the ICE officers even though they are generally in plain clothes, not in

uniform.

        49.     On information and belief, based on Plaintiffs’ own observations and incident

reports filed with the Massachusetts state trial courts, ICE conducts a civil arrest against

someone attending a Massachusetts state court on official business approximately two or three

times a week. A significant percentage of these arrests appear to take place in Middlesex and

Suffolk Counties. This includes arrests in and around the courthouse, including the parking lot

and the front steps. It does not include arrests of those who are brought to court while in state

criminal custody. It also does not include incidents in which ICE attempts, but fails, to make an

arrest. Many of the most disruptive incidents involve such attempted arrests.

        50.     Arrests of those brought into court while in state criminal custody do not raise the

same concerns as arrests of those who come to court under their own power. Plaintiffs here are

not challenging ICE’s authority to arrest those brought into court while in state criminal custody.

                                                  20
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 21 of 48



       51.     On information and belief, the following are characteristics of ICE’s civil

courthouse arrests:

               a. ICE agents are in plain clothes, but are readily identifiable by those who

                  frequent the courts.

               b. ICE agents are, on information and belief, generally, if not always, armed.

               c. Though ICE officers often appear to have some target in mind when they

                  arrive in court, they sometimes question and arrest others in court who the

                  ICE officers believe may have committed civil immigration infractions. This

                  can include family members who are accompanying someone ICE has

                  targeted for arrest. ICE often reviews court dockets upon arriving in court,

                  and sometimes arrests or attempts to arrest others who happen to appear in

                  court that day, and who ICE believes may have committed a civil immigration

                  infraction.

               d. ICE’s arrests and attempted arrests are disruptive and may even involve

                  violence. There have been reports of slamming family members against

                  walls, dragging individuals from cars, and pulling guns on people while

                  leaving court. ICE has handcuffed family members who turn out to be

                  lawfully present in the United States. In one such instance in Massachusetts,

                  ICE was unable to remove the handcuffs because it had lost the keys, and was

                  forced to obtain a handsaw to saw the handcuffs off in a courthouse

                  conference room. These incidents often occur in public areas of the court,

                  including the court lobby. Given the physical nature of some of these

                  incidents, ICE arrests can require intervention of state court staff.



                                                21
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 22 of 48



               e. ICE agents, who are typically in plain clothes, frequently fail to show their

                   badges or show any documentation while making arrests, which has at times

                   led members of the public to believe that ICE agents are kidnapping their

                   targets.

               f. ICE arrests often interfere with ongoing state court proceedings. When

                   criminal defendants are arrested and detained by ICE while their criminal

                   cases are still pending, the defendants often are unable to return to state court

                   to resolve their criminal cases.

       52.     The following paragraphs provide several examples that demonstrate the nature of

ICE’s presence in the Massachusetts court system. These examples are far from exhaustive, but

show the type of disruption often caused by ICE’s presence in the Massachusetts courts.

       53.     March 2018 seizure and interrogation at Lawrence Juvenile Court. A

juvenile defendant was meeting with counsel in the library of the courthouse when five ICE

officers barged into the room and surrounded the defendant. ICE demanded that the juvenile put

his hands up and they began to question him. His counsel was able to successfully stop the

interrogation, and prevent the arrest of his client, but the officers proceeded to follow the

juvenile and his counsel throughout the courthouse.

       54.     April 2018 harassment of court interpreter in Lynn District Court. An ICE

Officer was seen verbally harassing a court interpreter regarding a communication she had

interpreted between a defendant and counsel. The officer’s threatening tone prompted onlookers

to intervene to force the officer to leave the interpreter alone.




                                                  22
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 23 of 48



       55.     June 27, 2018 arrest at Marlboro District Court. A criminal defendant was

taken into custody just outside of the courtroom door, in a public area, by plain-clothes ICE

agents. ICE had to tell the target that they were not kidnapping him.

       56.     July 2018 interrogation at Boston Municipal Court. While a criminal

defendant was retrieving documents from the clerk’s office, an ICE officer present in the clerk’s

office approached the defendant, demanded identification and forced him into a private room in

the courthouse reserved for police and prosecutors for further questioning.

       57.     December 2018 attempted arrest at Roxbury District Court. A criminal

defendant was attending court for a pretrial hearing. As the defendant, his girlfriend, and her

young child were leaving the courthouse, they were approached by four ICE officers in plain

clothes who asked for identification. The defendant went back into the courthouse to find his

attorney. From that point on, the ICE officers followed the defendant and his attorney as he

awaited a second hearing, telling him that they were going to arrest him as soon as his hearing

was over and showing him handcuffs. Six ICE officers sat in the gallery directly behind the

defendant whispering to him that they were going to get him as soon as the hearing ended.

During the second hearing, the defendant fainted from the stress of the ICE officers’ constant

threats. Ultimately, the court ordered bail and the defendant was placed in criminal custody.

When asked for an administrative warrant or an immigration detainer, ICE could not produce

any document. The defendant subsequently posted bail and was released. At the defendant’s

next hearing, his case was almost certainly going to be dismissed because the witness against

him had recanted and the Commonwealth was unable to prove the charges against him. But the

defendant did not appear at that hearing and could not be contacted by his defense attorney. The

court thus entered a criminal default against him.



                                                23
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 24 of 48



       58.     February 2019 arrest in Somerville District Court. A criminal defendant had

attended a pretrial conference. When leaving the courtroom, two ICE agents tackled him in the

public lobby of the courthouse, bringing him to the ground. Onlookers believed it was a civilian

fist fight (unrelated to law enforcement) because the officers were in plain clothes with no visible

law enforcement identification and they had chased a man through the courthouse and tackled

him. The disruption was sufficiently violent that state court officers were required to intervene.

       59.     January 2019 attempted arrest in Middlesex Superior Court. A criminal

defendant and his uncle were waiting for a hearing to begin, seated in a conference room open to

the public. ICE officers entered the conference room and handcuffed both the defendant and his

uncle. The ICE officers then blocked access to the conference room, preventing the defendant’s

attorney from entering. The ICE officers ultimately realized that the defendant’s uncle was not

removable, but by that time they had lost the keys to the handcuffs. The officers were ultimately

forced to obtain a handsaw to saw the handcuffs off of the uncle.

       60.     Notably, many of the individuals ICE has targeted for its civil courthouse arrests

have no criminal records and are charged with only minor misdemeanors. However, because of

ICE arrests or the fear of such arrests, they are unable to defend against these charges. For

instance, ICE arrested an individual who had lived lawfully in the United States for years on a

non-immigrant work visa. This individual remained in the United States after his visa expired

and was a popular youth athletic coach for many years. Then, he was involved in a car accident;

the other driver fled, but this individual remained at the scene and called the police. The police

charged him with operating under the influence. ICE arrested this individual while he was

leaving the courthouse after his first pre-trial conference; he was subsequently deported and

never able to defend himself against the criminal charge. In another example, ICE arrested a



                                                24
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 25 of 48



lawful permanent resident entering court for a probation violation hearing. Because he could not

appear in court and missed his hearing, a default warrant was issued against him. In another

example, ICE arrested a man outside of East Boston District Court before he could answer to

charges of unlicensed operation of a motor vehicle, prompting the issuance of a default against

him. Defendants frequently miss criminal hearings, and even trials, because of ICE’s civil-

courthouse-arrest policy.

       61.     ICE has also used courthouse arrests to target those with a path towards legal

residence. For instance, ICE arrested a juvenile defendant who had been approved for Special

Immigrant Juvenile status and was waiting to apply for legal permanent residence. On the day

the juvenile court dismissed his pending delinquency charges, finding him incompetent to stand

trial, ICE arrested him as he was walking out of the courthouse.

       62.     Given the publicity around these stories and others like them, and given the

myriad other incidents of ICE courthouse arrests that occur without disruption or violence but

where news of the arrest travels throughout the local communities, ICE’s civil-courthouse-arrest

policy has sent a strong message that appearing in Massachusetts courts requires exposure to

civil ICE arrest. As discussed below, this has had a dramatic impact on many noncitizens’

willingness to appear in Massachusetts courts.

       Because of ICE’s courthouse arrest policy, many noncitizen Massachusetts residents
       will not attend Massachusetts state courts for fear of civil arrest and detention,
       causing significant harm to Plaintiffs.

       63.     The impact of ICE’s civil-courthouse-arrest policy has made clear that the

concerns that underlie the privilege against civil arrest of those attending court on official

business are well founded. Civil plaintiffs, criminal defendants, prosecutors, defense attorneys,

and civil and criminal legal aid societies all suffer the negative effects of the chill on the

immigrant community’s willingness to engage with courts—a direct result of ICE’s policy.

                                                  25
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 26 of 48



Plaintiffs’ experience makes clear that the targets of ICE’s civil arrests no longer view

Massachusetts state courts as places they can attend—a result that significantly harms not just

Plaintiffs, but the entire Massachusetts justice system.

               Many noncitizen Massachusetts residents refuse to appear in Massachusetts
               state courts for fear of civil immigration arrest.

       64.     Prior to the current administration’s civil-courthouse-arrest policy, Massachusetts

state courts were understood to be open to everyone, even noncitizens potentially subject to

removal. Chelsea Collaborative regularly assists with its members’ litigation in Massachusetts

state courts, including members who are noncitizens. Prior to the current civil-courthouse-arrest

policy, Chelsea Collaborative’s members, including those who are potentially subject to removal,

were regularly willing to participate in state court proceedings. For example, in the past, the

Collaborative filled courtrooms with members to show community support for the vindication of

the rights of other Collaborative members.

       65.     In one instance in or around 2008, the Collaborative brought claims on behalf of

victims of a consumer fraud scheme involving a travel agency that promised to book travel for

the victims, but instead took the money and provided no services. The Collaborative brought

over sixty community members, including some who were potentially subject to removal, to the

trial to show support and to testify against the fraudsters. Similarly, from 2013-2014, the

Collaborative helped with a criminal prosecution related to the Chelsea Housing Authority,

asserting the rights of its members suffering the uninhabitable conditions of Chelsea public

housing as a result of the then-executive director of the Housing Authority’s misappropriation of

funds. The Collaborative loaded two buses of member-victims and their supporters, including

some who were potentially subject to removal, to appear in court on behalf of the community.

None of these members expressed any fear of attending a Massachusetts courthouse.


                                                 26
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 27 of 48



       66.     This has completely changed because of the new policy authorizing civil

courthouse arrests. Now, the Collaborative can hardly convince anyone to appear in court or

bring suits that could ultimately require a court appearance. With accounts of ICE officers in the

courthouses spreading through Massachusetts communities, and with the increased likelihood

that a courthouse arrest will lead to prolonged detention given other policies of the current

administration, noncitizens fear engagement with the courts either as witnesses, claimants,

victims, or supporters. The following paragraphs provide just a few examples of the

Collaborative’s recent experiences reflecting the pervasive fear that ICE’s presence in the

courthouses has instilled in the community. These examples are not exhaustive but provide

illustrations of the harm to Chelsea Collaborative’s members, and the type of conduct that is no

longer being reported and acted upon by many noncitizen Massachusetts residents.

       67.     Domestic violence victims fear reporting abuse. Under Massachusetts General

Law ch. 209A, victims of domestic violence may seek abuse prevention orders where they have

a close relationship with their abuser (e.g., they are married or residing together) and they are

suffering physical harm at the hands of this individual. Prior to 2017, Chelsea Collaborative

assisted members, including noncitizens, in securing such orders. Currently, some members of

Chelsea Collaborative are victims of domestic violence and would qualify for an abuse

prevention order under chapter 209A. Yet, despite encouragement by the Collaborative and

other organizations, many noncitizen Collaborative members who are victims of domestic

violence and would qualify for an abuse prevention order, are now not willing to seek such an

order because it requires going to court, where the victims fear ICE arrest for themselves and

their families. Abusers prey on the vulnerability of these victims, using the threat of deportation

to silence survivors and drive them further into the shadows. Though the Collaborative



                                                 27
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 28 of 48



encourages victims to seek relief in court, given ICE’s Directive, the Collaborative cannot

guarantee these victims that they can appear in court without being arrested by ICE.

       68.     The Collaborative’s experience of the chilling effect of ICE’s policy on victims of

domestic violence is consistent with trends that have been documented nationally. For instance,

a survey by the National Immigrant Women’s Advocacy Project, partnering with the American

Civil Liberties Union, found that of the prosecutors they interviewed across 19 states, “82

percent of prosecutors reported that since President Trump took office [in 2017], domestic

violence is now underreported and harder to investigate and/or prosecute [compared to in 2016].

Seventy percent of prosecutors reported the same for sexual assault, while 55 percent state the

same difficulties for human trafficking and 48 percent for child abuse.” See American Civil

Liberties Union, Freezing Out Justice: How immigration arrests at courthouses are undermining

the justice system, 2 (2018). Similarly, the Domestic Violence Bureau of the Bronx District

Attorney’s office has publicly reported that numerous complaining witnesses expressed fear of

testifying or otherwise participating in criminal proceedings due to ICE presence in the

courthouse, including at least one instance in which a previously cooperative complaining

witness became extremely reluctant to testify following several news reports regarding ICE

arrests occurring in courthouses. There are numerous other reports of the increased refusal

among noncitizens to report domestic violence in light of ICE’s presence in courts.

       69.     Victims of fraud refuse to seek judicial relief, fearing ICE in court. A scam

artist has victimized many in the Chelsea community, building false trust and security with

unknowing victims of an investment scheme to defraud the victims of hundreds of thousands of

dollars. Since early 2018, this fraudster has stolen hundreds of thousands of dollars by

convincing Collaborative members to invest in a shell company with false promises of returns.



                                                28
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 29 of 48



After months of requests for an accounting of the use of the funds and recovery of the original

investment, the fraudster refuses, threatening the victims with the immigration consequences of

appearing in court to vindicate their rights. Despite wanting to seek relief from the courts and

the return of their stolen funds, and despite the fact that the conduct at issue is clearly actionable

as fraud under Massachusetts law, the undocumented victims have refused to initiate civil claims

against the fraudster due to the fear of ICE arrest upon appearing in court, and the threat that

their families would be torn apart by deportation.

       70.     Victims of church embezzlement scheme refuse to sue or assist with

prosecution, fearing ICE in courts. Close to fifty parishioners of a local, now-defunct church,

including many Collaborative members, sought to recover $140,000 of their offerings to the

church that were embezzled by a former pastor. Due to the fear of ICE’s presence in the

courthouses, the noncitizen victims fear pursuing their rights in court and have sought the advice

and help of the Collaborative. In an effort to provide some mechanism to help these exploited

victims, the Collaborative instituted an ad hoc investigation in cooperation with the Suffolk

District Attorney to seek some form of justice for these victims.

       71.     Victims of employer abuses and wage theft refuse to assert their rights,

fearing ICE in court. Massachusetts General Law chapter 151, sections 1A-1B requires that

employers provide overtime of one and one-half times their regular wage for hours worked

above 40 hours per week and creates a cause of action to recover unpaid overtime owed under

these provisions. One Collaborative member’s home was destroyed in a fire, and she took time

off of work to relocate her family. After returning to work, the woman was fired. After being

fired, she realized that she had not been paid in accordance with chapter 151 section 1A-1B, and

that she had not even been paid minimum wage. Despite offers by the Collaborative to represent



                                                  29
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 30 of 48



her in suing her employer to recover what she was owed under these provisions, the victim

refused to file a complaint in court, fearing ICE arrest.

       72.     Victims of landlord abuses refuse to challenge illegal eviction, fearing ICE in

court. A family of noncitizens, including Collaborative members, was threatened by their

landlord after an illegal rent increase and notice to vacate the premises if they did not agree to the

substantial rent increase. Fearing ICE arrest if they appeared in court, the family moved out

rather than seek relief from the landlord’s abusive and illegal tactics.

               By making courthouses unavailable to many noncitizen residents of
               Massachusetts, ICE’s policy has injured Chelsea Collaborative’s members
               and forced Chelsea Collaborative to spend additional resources helping its
               members access justice and resolve disputes.

       73.     These examples alone demonstrate that ICE’s Directive and ICE’s policy of

civilly arresting witnesses, parties, and others attending court on official business concretely

harm Chelsea Collaborative’s members by depriving them of a judicial forum in which to assert

their rights, forcing them to endure domestic violence and employment and housing practices

that violate Massachusetts law.

       74.     The Directive and ICE’s policy of civilly arresting witnesses, parties, and others

attending court on official business also harm the Collaborative by forcing it to spend and divert

resources to assist its members in responding to ICE’s civil courthouse arrests. Most

importantly, the Collaborative has instituted a mediation program to resolve disputes in the

community involving members and other Chelsea residents who refuse to go to court. At no

point prior to the current administration’s civil-courthouse-arrest policy did the Collaborative

have to create such an alternative-dispute-resolution mechanism for its noncitizen members,

because those members were always willing to resolve their disputes in court. Now,

Collaborative staff conduct approximately three to four mediations a week, each lasting several


                                                 30
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 31 of 48



hours. The subject matters range from resolution of family disputes, consumer fraud claims,

wage theft allegations, and others. This program has placed an incredible strain on the

organization’s resources, forcing the Collaborative to divert resources it would otherwise spend

on its core mission. Although a necessary stopgap measure, this extra-judicial program suffers

from obvious shortcomings, including that participation cannot be compelled and agreements

reached in the mediation are not enforceable as a court judgment would be.

       75.     As discussed above, prior to ICE’s Directive and prior to ICE’s policy of

regularly carrying out civil immigration arrests in Massachusetts courthouses, Chelsea

Collaborative’s members regularly appeared in Massachusetts state courts. Thus, if ICE were

enjoined from conducting civil arrests in and around courthouses, Chelsea Collaborative’s

members would be willing to appear in Massachusetts courts, and Chelsea Collaborative would

not need to continue its costly mediation program.

               By making courthouses unavailable to many noncitizen Massachusetts
               residents, ICE’s policy injures the District Attorneys and CPCS by deterring
               victims, witnesses, and criminal defendants from appearing in court.

       76.     The criminal justice system cannot function if the key players in that system—

victims, witnesses, and criminal defendants—are not willing and able to appear in court.

       77.     As the above illustrations demonstrate, many noncitizen victims, witnesses, and

defendants are no longer willing to appear in court as a result of ICE’s policy of civil courthouse

arrests. Crime victims, especially domestic violence victims, endure abuse rather than risk civil

ICE arrest. Defendants sometimes refuse to appear for hearings and trials and sometimes are

unable to appear due to ICE arrests, even in instances when the result of the hearings will most

likely be dismissal of the cases.

       78.     The illustrations above are consistent with the District Attorneys’ experience. It

is difficult for the District Attorneys to capture the full extent of ICE’s interference with their

                                                  31
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 32 of 48



work because both the Middlesex and Suffolk District Attorneys do not generally ask victims

and witnesses about their immigration status. Further, even if they do ask, many victims and

witnesses refuse to disclose their immigration status to the District Attorneys and Assistant

District Attorneys because the victims and witnesses often do not differentiate between state

prosecutors and federal ICE officials. Thus, when a given victim or witness does not appear in

court, it is difficult to know why that person has not appeared.

       79.     The illustrations above are also consistent with CPCS’s experience. When a

given criminal defendant does not appear at a scheduled hearing or trial, it is sometimes difficult

to know whether that failure was caused by fear of ICE arrest, actual ICE arrest outside the

courthouse prior to the hearing or trial, or some other factor. But, like the District Attorneys,

CPCS attorneys have noted a significant increase in criminal defendants expressing fear of

appearing in court, and an increase in defendants’ failure to appear, since ICE’s Directive and

since ICE began implementing its policy of regularly carrying out arrests in state courthouses.

Indeed, as the Roxbury example discussed above demonstrates, criminal defendants that have

encountered ICE in courthouses are often unwilling to appear at a subsequent hearing, even

when the result of the hearing is almost certain dismissal of the criminal charges.

       80.     By causing victims, witnesses, and defendants to refuse to appear in court, ICE’s

civil-courthouse-arrest policy injures the District Attorneys in concrete ways:

               a. Most importantly, it makes some prosecutions impossible. For crimes like

                   domestic violence in which a singular victim is often the only witness, if the

                   victim is a noncitizen who is unwilling to risk ICE arrest by appearing in

                   court, then prosecution is impossible.




                                                 32
            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 33 of 48



                b. Prosecution is also impossible when the defendant refuses to appear due to

                   fear of ICE arrest or fails to appear because of ICE arrest prior to resolution of

                   the criminal case.

                c. Even for prosecutions in which there are multiple victims and the defendant

                   does appear, ICE’s policy sometimes makes prosecution significantly more

                   costly, time-consuming and difficult. For example, the Suffolk County

                   District Attorney’s prosecution of the former pastor who stole $140,000 from

                   his congregation was significantly complicated by the fact that many of the

                   victims refused to appear in court for fear of ICE arrest.

                d. ICE’s courthouse arrests also force the District Attorneys’ Victim Witness

                   Advocates to spend additional time finding ways for victims and witnesses to

                   feel comfortable attending court, diverting their resources from their other

                   responsibilities.

                e. ICE’s courthouse arrests also force Assistant District Attorneys to spend

                   significant time and resources preparing for hearings and trials that do not

                   occur because the defendant and/or key witnesses do not appear because of

                   either fear or actual ICE arrest.

          81.   Other District Attorneys in Massachusetts have noted the same problems. For

example, Johnathan W. Blodgett, Essex County District Attorney, has stated that “[ICE] arrests

at courthouses in our county have impacted witnesses appearing for trial, victims of crime

(especially those of domestic violence), and criminal defendants we are seeking to prosecute.

This practice often impedes access to justice for victims, as well as our ability to prosecute

cases.”



                                                 33
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 34 of 48



        82.    For similar reasons, ICE’s civil-courthouse-arrest policy injures CPCS in concrete

ways:

               a. Most importantly, it directly impacts CPCS in its representations. When a

                    CPCS attorney’s client fails to appear at a hearing or trial due to fear or actual

                    ICE arrest, the hearing or trial cannot go forward. Moreover, if a defense

                    witness refuses to appear due to fear of ICE arrest, defending the client

                    becomes significantly more difficult, and at times impossible.

               b. ICE’s courthouse arrests force CPCS attorneys to spend significant time and

                    resources preparing for hearings and trials that do not occur because either the

                    defendant and/or key witnesses do not appear due to fear or actual ICE arrest.

        83.    As discussed above, prior to ICE’s policy of regularly carrying out civil

immigration arrests in state courthouses, noncitizens potentially subject to ICE arrest did not fear

arrest upon appearing in Massachusetts courts, and regularly appeared in those courts. Thus, if

ICE were not permitted to conduct civil arrests in and around courthouses—either by policy or

by court order—then the District Attorneys and CPCS would no longer suffer the concrete harms

identified above.

        84.    A study conducted by Northeastern University’s Immigrant Justice Clinic

summarized the disruptions it observed in Massachusetts courts at the hands of the ICE policy as

follows:

               ICE enforcement practices routinely interfere with court
               proceedings. ICE frequently arrests immigrants prior to the
               resolution of their criminal case. ICE detention can have grave
               impacts on a criminal proceeding, resulting in probation violations,
               default warrants, and other adverse consequences.                ICE
               interference with the criminal process does not just harm
               defendants. It also harms victims, whose rights are compromised
               when defendants are not available to stand trial, and it disrupts the

                                                  34
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 35 of 48



                 entire operation of the courts. In addition, the climate of fear
                 created by ICE courthouse enforcement deters immigrant victims
                 and witnesses from seeking assistance or participating in legal
                 proceedings.

Northeastern University School of Law, Immigrant Justice Clinic, Blocking the Courthouse

Doors: ICE Enforcement at Massachusetts Courthouses and Its Effects on the Judicial Process, 7

(March 2018).

        There has been widespread recognition, including by numerous judges, that ICE’s
        policy of civil courthouse arrests has caused precisely the harms to the
        administration of justice that the common law recognized.

        85.      Stakeholders participating in every facet of state judicial systems have spoken out

about the pervasive and destabilizing effect that ICE’s civil arrest practices have had on the

proper functioning of this core state institution. States have been vocal in rejecting the

courthouse arrest practice and in calling on ICE to terminate it entirely, or to impose significant

limitations on its frequency.

        86.      State court judges and justices in the Commonwealth and across the country from

California, Connecticut, New Jersey, New York, Oregon, and Washington have issued multiple

letters and public statements to ICE objecting to the courthouse arrest practice, citing to

disruptions to the administration of justice and public safety, and calling on ICE to substantially

alter its practice.

        87.      Paula M. Carey, Chief Justice of the Massachusetts Trial Court, summarized the

negative consequences stemming from the ICE policy as follows:

                 It is essential that these individuals [victims and litigants] be free
                 to seek relief from the Court without fear that their presence in
                 Court will be the cause of an immigration enforcement action. If
                 not, the unfortunate result will be that public safety will decrease,
                 communities will become less safe and perpetrators of domestic
                 violence will feel empowered to abuse their victims with impunity.
                 Further, individuals who currently come to our Courts to help
                 themselves or a loved one in obtaining a civil commitment for

                                                  35
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 36 of 48



                  detox or treatment will be reluctant to come forward if they fear
                  immigration consequences.

                  Any increased immigration enforcement in these civil matters
                  would mean fewer applications, more withdrawn cases, and more
                  defaults, resulting inevitably in violence, injustice, and threats to
                  public safety. In my view, it would ultimately affect the Court’s
                  ability to carry out its mission to provide the protections
                  guaranteed by the laws of this Commonwealth.

Exhibit G at 2.

       88.        Chief Justice Tani G. Cantil-Sakauye of the California Supreme Court wrote a

letter to then-Attorney General Sessions, expressing concerns about ICE’s policy of arresting

undocumented immigrants at California trial courts. Chief Justice Cantil-Sakauye echoed

concerns felt by judges and lawyers across the nation:

                  Our courthouses serve as a vital forum for ensuing access to justice
                  and protecting public safety. . . . [ICE’s courthouse arrest policy is
                  not only unsafe and unfair, but] undermine[s] the judiciary’s ability
                  to provide equal access to justice.

Exhibit H at 1-2.

       89.        She further explained that ICE’s policy affects a wide array of individuals,

including “[c]rime victims, victims of sexual abuse and domestic violence, witnesses to crimes

who are aiding law enforcement, limited-English speakers, unrepresented litigants, and children

and families,” by limiting their ability to “come to our courts seeking justice and due process of

law.” Exhibit H at 1.

       90.        Chief Justice Mary E. Fairhurst of the Supreme Court of Washington has also

recognized that the ICE courthouse arrest policy “impede[s] the fundamental mission of [all]

courts, which is to ensure due process and access to justice for everyone, regardless of their

immigration status.”




                                                   36
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 37 of 48



        91.       In a joint letter, dozens of former state and federal judges stressed that “for courts

to effectively do justice, ensure public safety, and serve their communities, the public must be

able to access courthouses safely and without fear of retribution. For many, however, ICE’s

courthouse arrests have made courts places to avoid.” Exhibit I at 1.

        92.       These judges also recognized that the ICE policy has caused recognizable and

tangible fear in individuals who would otherwise petition courts for redress:

                  Surveys of law enforcement and legal service providers confirm
                  that ICE’s reliance on immigration arrests in courthouses instills
                  fear in clients and deters them from seeking justice in a court
                  building. Affidavits detail persons “terrified” to request orders
                  protecting them from violence or enforcing child support, to serve
                  as witnesses, and to defend themselves.

Exhibit I at 1.

        93.       The Victim Rights Law Center has also seen the ICE courthouse arrest policy’s

chilling effect in action, expressing that “The immigrant [sexual assault] survivors we work with

unanimously express significant fear of detention or deportation when contemplating engaging in

criminal justice and/or civil legal remedies in the aftermath of their assaults.”

        94.       The Boston Bar Association believes that the chilling effect that ICE courthouse

arrests fosters has “significantly impair[ed] the ability of the Commonwealth to ensure access to

our courts and fair administration of justice for all our residents.”

        95.       Similarly, the Massachusetts Law Reform Institute has summarized the negative

impact of the ICE courthouse arrest policy as follows:

                  The recent ICE presence in the courthouses of the Commonwealth
                  . . . has already chilled access to civil legal remedies by legal
                  services clients and is likely to imperil the participation of litigants
                  and witnesses in key areas of our practice, including the following:
                  [Housing, Child Welfare, Family Law, Domestic Abuse and
                  Harassment Protection, and Employment Rights].

                                             *       *       *

                                                    37
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 38 of 48



       96.     A clear consensus has emerged in Massachusetts, and across the nation, among all

stakeholders in the legal community that ICE’s civil-courthouse-arrest policy has resulted in a

noticeable chill on court access, and as a result, on access to justice. Massachusetts judges,

prosecutors, defense attorneys, and legal aid societies are united against this destructive ICE

policy. These stakeholders agree that ICE courthouse arrests at the very least chill—and in some

cases, outright prevent—noncitizens from accessing courthouses, and in turn justice, across

Massachusetts.

                                      CAUSES OF ACTION

                                         COUNT I
 ICE’s Directive No. 11072.1 Violates the Administrative Procedure Act, 5 U.S.C. § 706(2),
          and the Immigration and Nationality Act, 8 U.S.C. §§ 1226(a), 1357(a) (by all
                                            Plaintiffs)

       97.     Plaintiffs repeat and incorporate by reference each and every allegation contained

in paragraphs 1 through 96 as if fully set forth herein.

       98.     The Administrative Procedure Act instructs courts to “hold unlawful and set aside

agency action” that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law,” as well as agency action that is “in excess of statutory jurisdiction,

authority, or limitations.” 5 U.S.C. § 706(2).

       99.     ICE’s Directive is a final agency action subject to review under the

Administrative Procedure Act.

       100.    Congress has not given ICE the power to conduct civil arrests of parties,

witnesses and others attending court on official business. “[A]n agency literally has no power to

act . . . unless and until Congress confers power upon it.” Louisiana Pub. Serv. Comm’n v.

F.C.C., 476 U.S. 355, 374 (1986). The validity of ICE’s Directive authorizing civil arrest of

parties and witnesses attending court thus depends on whether the general grant of power to



                                                 38
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 39 of 48



conduct civil arrests somehow abrogated the well-settled common law privilege that such civil

arrests cannot be used to arrest parties, witnesses and others attending court on official business.

       101.    Given the “longstanding [] principle that statutes which invade the common law

are to be read with a presumption favoring the retention of long-established and familiar

principles,” a statute must “speak directly to the question addressed by the common law” to

“abrogate a common-law principle.” Texas, 507 U.S. at 534 (1993) (internal quotation marks

and alterations omitted). The statute authorizing ICE to conduct civil immigration arrests does

not “speak directly to the question addressed by the common law”—i.e., it does not speak to the

question of whether ICE can use a party or witness’s appearance in court as a trap for purposes

of a civil arrest. Instead, the statute simply authorizes arrest and detention, while saying nothing

about how, when, or where such arrests can take place. 8 U.S.C. § 1226(a), 1357(a). Thus, the

power Congress granted to ICE to conduct civil arrests inherently contains within it the common-

law limitation that parties, witnesses, and others attending court on official business are

privileged from civil arrest.

       102.    To the extent there is any ambiguity concerning whether the INA incorporates or

abrogates the common-law privilege, the constitutional concerns raised by the Directive resolve

that ambiguity in favor of interpreting the statute to limit ICE’s authority. See Clark v. Martinez,

543 U.S. 371, 380-82 (2005) (when there are “competing plausible interpretations of a statutory

text,” courts should apply “the reasonable presumption that Congress did not intend the

alternative which raises serious constitutional doubts”).

       103.    Abrogating the common-law privilege would violate the Constitutional right of

access to the courts, which prohibits “systemic official action [that] frustrates a plaintiff or

plaintiff class in preparing and filing suits.” Christopher, 536 U.S. at 413, 415 & n.12. Such



                                                  39
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 40 of 48



“frustrat[ion]” includes not only policies that ban access outright, but also those that obstruct it.

E.g., id. at 413. Forcing noncitizen litigants potentially subject to removal to risk civil arrest in

order to access the courts creates such impermissible frustration. See ¶¶ 118-122, infra.

       104.    Abrogating the privilege would likely deprive criminal defendants of their Sixth

Amendment rights. A “fundamental element of due process of law” is criminal defendants’

“right to present a defense,” which includes the “right to offer the testimony of witnesses, and to

compel their attendance, if necessary.” Washington v. Texas, 388 U.S. 14, 19 (1967).

Government acts that “cause[] the loss or erosion” of favorable testimony violate that right.

United States v. Hoffman, 832 F.2d 1299, 1303 (1st Cir.1987). By conditioning court appearance

on potential civil arrest, ICE’s Directive threatens noncitizen witnesses with potential arrest upon

appearance in court, likely depriving many criminal defendants of key testimony. Criminal

defendants also have the right to testify on their own behalf, e.g., Rock v. Arkansas, 483 U.S. 44,

51-53 (1987), and to be present at crucial phases of the trial, e.g., Illinois v. Allen, 397 U.S. 337,

338 (1970). ICE’s Directive impermissibly conditions a criminal defendant’s exercise of these

rights on exposing herself to potential civil immigration arrest.

       105.    The federalism and Tenth Amendment concerns involved with abrogating state

courts’ ability to protect their litigants and witnesses from courthouse arrests further supports

interpreting Congress’s general grant of civil-arrest authority to incorporate the common-law

privilege against courthouse arrests. If Congress intends to “pre-empt the historic powers of the

States,” it must do so “plain[ly]”—making its intention “unmistakably clear”—in

acknowledgment of the fact that “States retain substantial sovereign powers under our

constitutional scheme, powers with which Congress does not readily interfere.” Gregory v.

Ashcroft, 501 U.S. 452, 460-61 (1991). Authorizing ICE to police the halls of state courts—



                                                  40
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 41 of 48



dissuading parties and witnesses from attending state judicial proceedings—creates a serious

threat to the “usual constitutional balance between the States and the Federal Government.” Id.

at 460-61. Indeed, authorizing such conduct effectively commandeers state resources for

implementing a federal program. See ¶¶ 112-117, infra. Such authorization should not be

presumed absent express language not present in the statute.

       106.      ICE’s Directive authorizes civil courthouse arrests that Congress did not authorize

ICE to conduct. The Directive is thus “in excess of statutory jurisdiction, authority, or

limitations,” and is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” This Court should therefore hold it unlawful and set it aside under the Administrative

Procedure Act.

                                         COUNT II
    ICE’s Directive No. 11072.1, and Its Policy of Conducting Civil Courthouse Arrests,
          Violate the Federal and Massachusetts Common-Law Privilege Against Such
                                    Arrests (by all Plaintiffs)

       107.      Plaintiffs repeat and incorporate by reference each and every allegation contained

in paragraphs 1 through 106 as if fully set forth herein.

       108.      ICE’s arrests based on alleged civil immigration infractions are civil arrests. See

INS v. Lopez-Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation proceeding is a purely civil

action to determine eligibility to remain in this country”).

       109.      There is a longstanding common-law privilege against civil arrest of witnesses,

parties, and others attending court on official business. This privilege has been recognized by

federal courts, including the Supreme Court and this Court, as well as by the Massachusetts

Supreme Judicial Court. The privilege is one that courts enforce on each other’s behalf. Federal

courts enforce the privilege on behalf of those attending state courts, and state courts enforce the




                                                  41
            Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 42 of 48



privilege on behalf of those attending federal courts. The privilege is thus best understood as

existing as a matter of both federal and Massachusetts common law.

          110.   The federal common law privilege must, at the very least, prevent arrest of those

attending state court to the extent those arrests are privileged under state law.

          111.   ICE’s Directive, and its policy of carrying out civil arrests against parties,

witnesses, and others attending courts on official business, violate the privilege against civil

courthouse arrests.

                                        COUNT III
    ICE’s Directive No. 11072.1, and Its Policy of Conducting Civil Courthouse Arrests,
         Exceed the Federal Government’s Powers Under the Tenth Amendment (by all
                                             Plaintiffs)

          112.   Plaintiffs repeat and incorporate by reference each and every allegation contained

in paragraphs 1 through 111 as if fully set forth herein.

          113.   The Constitution leaves in the states “‘a residuary and inviolable sovereignty.’”

Printz v. United States, 521 U.S. 898, 918-19 (1997) (quoting The Federalist No. 39, at 245 (J.

Madison)). Key to protecting this “inviolable sovereignty” is the states’ ability to prevent the

federal government from conscripting key state functions for its own end: “[U]sing the States as

the instruments of federal governance [is] both ineffectual and provocative of federal-state

conflict.” Id. The Supreme Court has thus repeatedly “made clear that the Federal Government

may not compel the States to implement, by legislation or executive action, federal regulatory

programs.” Id. at 925; see also Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. 1461

(2018).

          114.   The states’ judicial and police powers are among the most important powers that

the Constitution reserves to the states. Indeed, there is “no better example of the police power,

which the Founders denied the National Government and reposed in the States, than the


                                                   42
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 43 of 48



suppression of violent crime and vindication of its victims.” United States v. Morrison, 529 U.S.

598, 618 (2000); see also United States v. Lopez, 514 U.S. 549, 567 (1995) (discussing “areas

such as criminal law enforcement . . . where states historically have been sovereign”). There is

therefore particular reason to avoid allowing the federal government to coopt that system for

purposes of carrying out its own civil policies, especially when such cooption interferes with the

state’s administration of its police powers.

       115.    ICE’s Directive, and its corresponding policy of civilly arresting parties,

witnesses, and others attending court on official business, impermissibly commandeer the state

criminal justice and judiciary systems for purposes of carrying out the federal government’s civil

immigration policy. There can be little doubt that the federal government could not order state

district attorneys, public defenders, and judges to provide ICE with lists of people who the state

officers know are scheduled to appear in court—let alone, to make those people available for

ICE arrest. See Murphy, 138 S. Ct. at 1477 (“The Federal Government may not command the

States’ officers, or those of their political subdivisions, to administer or enforce a federal

regulatory program.” (internal alterations and citations omitted)). However, that is precisely the

effect of ICE’s civil-courthouse-arrest policy, which simply places federal officials in state

courthouses to accomplish indirectly what the federal government could not permissibly do

directly. Stationing armed federal agents within the state government to extract what the federal

government could not order the state to provide directly heightens, not minimizes, the intrusion

on state sovereignty. See Murphy, 138 S. Ct. at 1478 (telling the state legislature it cannot do

something is “as if federal officers were installed in state legislative chambers and were armed

with the authority to stop legislators from voting on any offending proposals. A more direct

affront to state sovereignty is not easy to imagine.”).



                                                  43
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 44 of 48



       116.    The federal government’s use of state courts for civil immigration enforcement

shifts the political accountability for and the economic costs of federal immigration policy to the

states in precisely the way the Tenth Amendment prohibits. See Murphy, 138 S. Ct. at 1477.

When those called into court by state prosecutors or state judges are then arrested by federal

agents upon appearing in state court, it becomes difficult for members of the public to attribute

responsibility for the arrests. Similarly, ICE’s Directive and corresponding policy of arresting

those attending state courts on official business shift the costs of immigration enforcement from

the federal government to the states. The federal government saves money by using the state

judicial system to trap those the federal government seeks to civilly arrest and detain, while

placing significant strains on state resources by requiring the involvement of state court officers,

hindering the state judicial process, and making the state’s administration of justice more costly,

slow, and disordered.

       117.    The Tenth Amendment violation is made more acute by the importance of the

state institutions ICE is commandeering, and the significance of ICE’s interference with those

institutions. The execution of the police power and the administration of justice are core

sovereign powers reserved to the states. See Younger v. Harris, 401 U.S. 37, 43 (1971)

(recognizing a “policy against federal court interference with state judicial proceedings”); In re

Justices of Superior Court Dep’t of Massachusetts Trial Court, 218 F.3d 11, 16 (1st Cir. 2000)

(same); Morrison, 529 U.S. at 618 (“we can think of no better example of the police power,

which the Founders denied the National Government and reposed in the States, than the

suppression of violent crime and vindication of its victims.”); United States v. Lopez, 514 U.S.

549, 564, 567 (1995) (“areas such as criminal law enforcement or education where states




                                                 44
           Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 45 of 48



historically have been sovereign.”). ICE’s Directive and civil-courthouse-arrest policy

significantly interfere with these core sovereign functions and violate the Tenth Amendment.

                                        COUNT IV
    ICE’s Directive No. 11072.1, and Its Policy of Conducting Civil Courthouse Arrests,
               Violate the Right of Access to the Courts (by Chelsea Collaborative)

       118.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in paragraphs 1 through 117 as if fully set forth herein.

       119.    Defendants’ actions deprive Plaintiffs of meaningful access to the courts in

violation of Plaintiffs’ rights under the First, Fifth and Fourteenth Amendments.

       120.    The right of access to the courts prohibits “systemic official action [that] frustrates

a plaintiff or plaintiff class in preparing and filing suits.” Christopher, 536 U.S. at 413, 415 &

n.12; see also Tennessee v. Lane, 541 U.S. 509, 522-23 (2004); Rogan v. City of Boston, 267

F.3d 24, 28 (1st Cir. 2001); Simmons v. Dickhaut, 804 F.2d 182, 183 (1st Cir. 1986). Such

“frustrat[ion]” includes not only policies that ban access outright, but also those that obstruct it in

more subtle ways. See Christopher, 536 U.S. at 413 (citing M.L.B. v. S.L.J., 519 U.S. 102, 106-

07 (1996)) (excessive filing fees); Lane, 541 U.S. at 522-23 (inaccessibility for individuals with

disabilities); see also Bounds v. Smith, 430 U.S. 817, 822 (1977) (“access to the courts [must be]

adequate, effective, and meaningful”).

       121.    Forcing noncitizens potentially subject to removal to risk civil arrest to access the

courts creates such impermissible frustration. Indeed, the cases establishing the common-law

privilege recognized precisely this, explaining that the fear of arrest would “prevent [parties and

witnesses’] approach,” obstructing “the administration of justice.” Halsey, 4 N.J.L. at 368. The

impact of ICE’s Directive has vindicated this common-law wisdom: Noncitizen victims of

domestic violence and landlord and employer abuse have been forced to continue to suffer abuse

and decline to obtain remedies available under Massachusetts law rather than risk ICE arrest.

                                                  45
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 46 of 48



Plaintiff Chelsea Collaborative has been forced to establish its own extra-judicial mediation

program to resolve disputes between those who are no longer willing to attend court.

       122.     Chelsea Collaborative’s members have meritorious claims—including claims for

restraining orders against abusive partners and unpaid wages against former employers—that

they are frustrated from bringing by ICE’s civil-courthouse-arrest policy, in violation of the

Constitutional right of access to the courts.


                                      PRAYER FOR RELIEF

Wherefore, Plaintiffs pray that this Court grant the following relief:

   A. An order holding unlawful, vacating, and setting aside ICE’s Directive No. 11072.1

       authorizing the civil arrest of parties, witnesses, and others attending court on official

       business.

   B. A declaration pursuant to 28 U.S.C. § 2201 that:

           a.   ICE does not have statutory authority to civilly arrest parties, witnesses and

                others attending court on official business, and hence ICE’s Directive is in excess

                of statutory jurisdiction, authority, or limitations, and is arbitrary, capricious, an

                abuse of discretion, and not in accordance with law;

           b. ICE’s Directive and ICE’s policy of civilly arresting parties, witnesses and others

                attending court on official business violate the federal and Massachusetts

                common-law privilege against such civil courthouse arrests;

           c. ICE’s Directive and ICE’s policy of civilly arresting parties, witnesses and others

                attending court on official business violate the constitutional right of access to the

                courts; and




                                                  46
      Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 47 of 48



       d. ICE’s Directive and ICE’s policy of civilly arresting parties, witnesses and others

           attending court on official business exceed the federal government’s

           constitutional authority under the Tenth Amendment.

C. An injunction enjoining ICE from implementing its Directive, and from civilly arresting

   parties, witnesses, and others appearing in court on official business while they are going

   to, attending, or leaving the courthouse.

D. Attorneys’ fees.

E. Such other relief as the Court deems just and proper.




                                               47
          Case 1:19-cv-11003-IT Document 1 Filed 04/29/19 Page 48 of 48



Dated: April 29, 2019                        Respectfully submitted,



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                                               48
